              Case 5:16-cr-50015-TLB Document 120                            Filed 10/14/16 Page 1 of 6 PageID #: 627
AO 2458 (Rev. I 0/1 5) Judgment in a C1im ina l Case
                         Sheet I



                                            UNITED STATES DISTRICT COURT
                                                           Western Dishict of Arkansas
                                                                             )
               UNITED STATES OF AMERICA                                      )         JUDGMENT IN A CRIMINAL CASE
                                     v.                                      )
                                                                             )
                      SUMMER THOMPSO                                                   Case Number:           5: 16CR50015-005
                                                                             )
                                                                             )         USM Number:            14262-010
                                                                             )
                                                                             )         Shell Ho an Koehler
                                                                             )         Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)           One (l) of the Indictment on June 2 1, 20 16.

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was fo und gui lty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                                                           Offense Ended          Count
18 U.S.C. §§ 1344(2) and            Conspiracy to Commit Bank Fraud                                              11 /03/20 15            1
1349




The defendant is sentenced a provided in pages 2 through -=-
                                                           6_               of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.
D The defendant has been fo und not guilty on count(s)
X Count(s)        Five (5) & the Forfeiture Allegation D is          X are dismissed on the motion of the United States.
It is ordered that the defendant must notify the United States attorney fo r this district within 30 days of any change of name, residence, or mailing
address until all fines , restitution, costs, and spec ial assessments imposed by this judgment are fully paid . If ordered to pay restitution, the
defendant must notify the court and Uni ted States attorney of material changes in economic circumstances.




                                                                            Honorable Timoth L. Brooks Un ited States District Jud e
AO 2456 (Rev. 10/ 15) Judgment in C1iminal Case
            Case 5:16-cr-50015-TLB
                        Sheet 2 - Imprisonment
                                                  Document 120          Filed 10/14/16 Page 2 of 6 PageID #: 628
                                                                                                   Judgment -   Page ---'2~- of   6
DEFENDANT:                   SUMMER THOMPSO
CASE NUMBER:                 5: l 6CR50015-005

                                                           IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:     time served (the defendant has been in federal custody since April 28, 2016, which is equal to
approximately SYi months).




    D The court makes the fo llowing recommendations to the Bureau of Prisons:




    X The defendant is remanded to the custody of the United States Marshal fo r processing.

    D The defendant shall surrender to the United States Marshal for this district:
         D at                                               D p.m.        on

         D as notified by the United States Marshal.

    D The defendant shall surrender fo r service of sentence at the institution designated by the Bureau of Prisons:
         D before 2 p.m. on
         D as notified by the United States Marshal.
         D as notified by the Probation or Pretria l Services Office.


                                                                RETURN
 I have executed this judgment as fo llows:




         Defendant delivered on                                                       to

 a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                U ITED STATES MARSHAL



                                                                        By -~~~~~~~~~~~~~~~~~~~~~
                                                                                            DEPUTY U ITED STATES MARS HAL
AO 2458 (Rev. I 0/ 15) Judgment in a C1i111inal Case
               Case 5:16-cr-50015-TLB
                     Sheet 3 - Supervised Release
                                                  Document 120               Filed 10/14/16 Page 3 of 6 PageID #: 629
                                                                                                              Judgment- Page      3     of       6
 DEFENDANT:                     SUMMER THOMPSON
 CASE NUMBER:                   5: 16CR50015-005
                                                          SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release fo r a term of:              three (3) years.




The defendant must report to the probation office in the district to which the defendant is released within 72 hours ofre lease from the custody
of the Bureau of Prisons.
 The defendant shall not commit another federal , state or local crime.
 The defendant shall not unlawfully possess a contro lled substance. The defendant shall refrain from any unlawful use of a contro lled
 substance. The defendant shall submit to one drug test within 15 days ofrelease from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.

 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low ri sk of
          future substance abuse. (Check, if applicable.)

 x        T he defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

 x        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

          The defendant shall comply with the requirements of.the Sex Offender Registration and_Notification Act_ (42 U.S.C. § 1690 1, et seq.)
 D        as directed by the probation officer, the Bureau of Pnsons, or any state sex offender reg1strat1on agency m which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

 D        The defendant shall participate in an approved program fo r domestic violence. (Check, if applicable.)
 If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule
 of Payments sheet of this judgment.
 The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
 attached page.

                                            ST AND ARD CONDITIONS OF SUPERVISION
     1)     the defendant shall not leave the judicial di strict without the permission of the court or probation officer;
     2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)       the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer fo r schooling, training, or other
           acceptable reasons;
     6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from excessive use of alcohol and sha ll not purchase, possess, use, distribute, or administer any
           controlled substance or any parapherna lia related to any controlled substances, except as prescribed by a physician ;
     8)    the defendant shall not freq uent places where contro lled substances are illega lly so ld , used, distributed, or administered;
   9)      the defendant shall not associate with any persons engaged in crin1inal activity and shall not associate with any person convicted of a
           fe lony, unless granted pem1ission to do so by the probation officer;
  10)      the defendant shall pem1it a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
  I I)     the defendant shall noti fy the probation offi cer within seventy-two hours of being arrested or questioned by a law enfo rcement officer;
  12)      the defondant shall not enter into any agreement to act as an info rmer or a spec ial agent of a law enforce ment agency without the
           pem11ss1on of the court; and
  13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant 's crimina l
           record or personal history or characteristics and shall permit the probation officer to make such notifica tions and to confirm the
           defendant 's compliance with such notification requirement.
AO 2458 (Rev.
          CaseI0/1 5)5:16-cr-50015-TLB
                     Judgment in a Cti minal Case   Document 120         Filed 10/14/16 Page 4 of 6 PageID #: 630
        Sheet 3C - Supervised Release
                                                                                                         Judgment- Page _ _4_      of        6
DEFENDANT :                 SUMMER THOMPSON
CASE NUMBER:                5: l 6CR500 15-005

                                         SPECIAL CONDITIONS OF SUPERVISION
I. The defendant shall submit to in{>atient and/or outpatient mental hea lth evaluation, counseling, testing and/o r treatment, as deemed necessary
and as directed by the U.S. Probation O ffice .
2. The defendant shall submit to inpatient or outpatient substance abuse eva luation, counseling, testing, and/or treatment as deemed necessary
and as di rected by the U.S . Probat10n Office.
3. The defendant shall submit her person, residence, place of employment, and vehicle to a search to be conducted by the U.S. Probation Office
at a reasonable time and in a reasonable manner based on any reasonable suspicion that evidence of any violation of conditions of supervised
re lease might thereby be di sclosed.
AO 245B (Rev.Case     5:16-cr-50015-TLB
              I0/15) Judgment  in a Criminal Case   Document 120             Filed 10/14/16 Page 5 of 6 PageID #: 631
         Sheet 5 - C1i111inal Monetaiy Penalti es
                                                                                                         Judgment -   Page     5      of       6
DEFENDANT:                        SUMMER THOMPSON
CASE NUMBER:                      5: 16CR50015-005
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the tota l crimina l monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                                           Fine                                  Restitution
TOTALS             $ 100.00                                             $ 900.00                             $ -0-



 D The determination of res titution is deferred until - - - - . An Amended Judgment in a Criminal Case (A O 245C) will be entered
     after such determination.

 D The defendant must make restitution (including community restitution) to the fo llowing payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.

Na me of Pavee                               Total Loss*                           Restitution Ordered                       Prioritv or Percentage




TOTALS                              $


D     Restitution amount ordered pur uant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in fu ll before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 36 l 2(f). All of the payment options on Sheet 6 may be subj ect
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 36 12(g).

X     The court determined that the defendant does not have the ab ility to pay interest and it is ordered that:

      X the interest requirement is wa ived for the            X fine     D restitution.
      D the interest requirement fo r the           D   fine    D restitution is modified as fo llows:

*Findings for the total amount of losses are required under Chapters 109A, 11 0, 11 OA, and l l 3A of T itle 18 for offenses comm itted on or after
September 13, 1994 , but before April 23, 1996.
              Case 5:16-cr-50015-TLB Document 120
AO 245 8 ( Rev. 10115) Judgment in a Crim inal Case
         Sheet 6 - Schedu le o f Payments
                                                                                Filed 10/14/16 Page 6 of 6 PageID #: 632
                                                                                                                 Judgment -   Page      6     of           6
 DEFENDANT:                    SUMMER THOMPSON
 CASE NUMBER:                  5: l 6CR500 15-005

                                                           SCHEDULE OF PAYMENTS

 Having assessed the defendant 's abi lity to pay, payment of the tota l criminal monetary penalties is due as fo llows:

 A     X     Lump sum payment of$               1,000.00          due immediately, balance due

             D      not later than                                     , or
             X      in accordance           0     C,   0    D,    D     E, or     X F below; or
 B     O     Payment to begin immediately (may be combined with                 o c,        D D, or       D F below); or
 C     O     Payment in equal                          (e.g.. week~y. monthly, quarterly) installments of $                             over a period of
                             (e.g .. month or years), to commence                        (e.g.. 30 or 60 days) after the date of this judgment; or

 D     D     Payment in equal                          (e.g .. weekly, monthly, quarterly) installments of                             over a period of
                             (e.g., months or years), to commence                         (e.g.. 30 or 60 days) after release fro m imprisonment to a
             term of supervision; or

 E     D Payment during the term of supervised release will commence within                        (e.g., 30 or 60 days) after release fro m
             impri sonment. T he court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     X     Special instructions regarding the payment of criminal monetary penalties:
             The payment of any remaining balance shall become a condition of supervised release and shall be paid in monthly insta llments of
             $50.00 or 10% of the defendant's net monthly household income, whi chever is greater, with the entire balance to be paid in full no
             later than one month prior to the end of the period of supervised release.




 Unless the court has expressly ordered otherwise, if this j udgment imposes irnpri onment, payment of criminal monetary penalties is due
 during impri onment. Al l criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 T he defendant shall receive cred it for all payments previo usly made toward any criminal monetary penalties imposed.




 0     Jo int and Several


       Defendant and Co-Defendant Names and Case Number (including defendant number) , Tota l Amount, Joint and Several Amount,
       and corresponding payee, if approp riate.




 D     T he defendant shall pay the cost of prosec ution.

 D     The defendant shall pay the fo llowing court cost(s):

 D     The defendant shall fo rfe it the defendant's interest in the fo llowing property to the United States:


Payments shall be applied in .the fo llow.ing order: ( l? ~ssess ment, (2) re~ tituti o n principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) communi ty restitution, (7) pena ties, and (8) costs, incl uding cost of prosec ution and court costs.
